Case 1:18-cr-00032-DLF Document 126 Filed 04/12/19 Page 1 of 2

AO 83 (Rev. 06/09) Summons in a Criminal Case

UNITED STATES DISTRICT CoURT

for the

District of Columbia

 

United States of America
v.

Concord Management and Consulting LLC Case No. 1:18-cr-032

House 13,Litera A. Bldg.Z-N N0.4

Eo_ntanka R_iv_er_ E_`mbar_;}_<_;neut,,. _
Defendant _
St. Petersbur‘j{} ,€¢/§§/y /¢////

SUMMONS IN A CRIMINAL CASE

VVV\/\/V\/

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court1

[j Con\plaint

d Indictment |J Superseding lndictment Cl Information Cl Supersedinglnformation
lj Order of Court

l_'J Probation Violation Petition Cl Supervised Release Violation Petition Cl Violation Notice

 

' U.S. D|STR|CT COURT FOR THE DlSTRlCT OF COLUMB|A
fplace: U.S. Courthouse
333 Constitution Avenue, N.W. . _ . -
j Washinqton. D.c. 20001 Dafe and Tlme- 3 l 10 / ‘ `~5 l ’ "l giant
This offense is briefly described as follows:
18 U.S.C. 371 (Conspiracy to Defraud the United States)

Courtroom No.: zl-

 

 

 

 

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Y‘~‘puty Clerk

 
    
 

x

 

Date: 02/16/2018
- d \ \/ Issuing elmer ’Qa`énature

U.S. Magistrate Judge G. Michae| Harvey
Printed name and title

  

I: declare under penalty of perjury that l have:

§§ Executed and returned this summons fj Returned this summons unexecuted

  

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W g?}> \ § Server ’s signature
v`\\{ ér¢\; £& Es& ms,gr~r,~ st~.-:.»t Mm&

5""\ § /J Prin!ed name and title

 

Date:

A083(Rcv_06,09)Summ§,§§i§§CJih§\h§l-gL-quage§;-DLF Document 126 Filed 04/12/19 PageZon

Case NO_ 1218°Cr"032

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Notfor Public Disclosure)

INFORMATION FOR SERVICE

Nam€ Ofd€f€nda“f/Off€nd€rf Concord Management and Consulting LLC

Last known residence: {' /_, )’K//¢//;,/Zr ///y;%,y/¢,;¢//;,/_gM/v 7 /4¢,/ / l',/_;'/Z.€J////
/W/wr/e</ J/, /7/ exh/nj /Z/,////z /¢@:7¢/

USUal place Of abode (lf dljerent from residence address).

 

 

If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of

process:

 

 

lf the defendant is an organization, last known address within the district or principal place of business elsewhere 1n the

United States: \ ¢/ /

 

 

 

   
 

 

 

 

 

 

PROOF OF SERVICE
This summons was received by me on (daze) 'S l \5 ("Z,o \ Q, \.
. § §
D 1 personally served the summons on this defendant f / . at
(place) ( e) l ; or
Ij On (date) 4 I left the sum nszt e individual’ s resl ence or usual place of abode
with (name) ' rson of suitable age and discretion who resides
there, and l mailed a copy to the individual’s last anl!( dress; or
AI delivered a copy of the summons to (name ofindiv' ual) 5&2 5 5 l n T"d V` c * N}"~ ,

 

81 whe~is'antltorized't'o'recei'veservice~of~process~ halfof'rname”ojfwganization}~ F(¢g&wd¢. 55¢»§1@4»\ .$
11ng 0¢~ N.E FZMSS\AN FE..D ’J on(date) ¢‘{ Z»f% affd"lmf}¢d°a"¢°?y“t€§

       
 
 
  

    

Cl The summons was returned une cuted because:

I declare under penalty of perjury t t thls information is true.
i
Date retumed: 3 N » §

Server’ s signature

 

 

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Prt`nted name and title

Remarks:

